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Attorneys for Plaintiff

                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF IDAHO



MELALEUCA, Inc., an Idaho corporation,                    Case No. 4:18-cv-36

       Plaintiff,
                                                   MOTION FOR PRELIMINARY
v.                                                       INJUNCTION

KOT NAM SHAN, an individual, and
SHAKLEE CORP., a Delaware corporation,

       Defendants.




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        The plaintiff, Melaleuca, Inc., (“Melaleuca”) by and through its counsel of record,

respectfully requests that the Court enter a Preliminary Injunction against the Defendants Kot

Nam Shan and Shaklee Corporation (“Shaklee”). The motion is based upon the record,

Complaint, forthcoming memorandum of law and supporting declarations, and other forthcoming

supporting evidence. The motion is made pursuant to Rule 65 of the Federal Rules of Civil

Procedure.

        Melaleuca seeks an order enjoining Defendants from the following:

        As it pertains to Defendant Kot:

        a.       Working in any capacity for or with Shaklee.

        b.       Communicating directly or indirectly with Shaklee (including Shaklee employees,

officers, directors, agents and representatives), Shaklee’s customers or independent contractors.

        c.       Promoting, endorsing, speaking on behalf of, or making any public or non-public

statements concerning Shaklee or its products.

        d.       Using or disclosing Melaleuca’s confidential or proprietary information, whether

in written or non-written form.

        e.       Communicating directly or indirectly with Melaleuca employees, agents,

representatives, and Marketing Executives.

        f.       Engaging in any conduct in breach of the Non-Interference and Non-Competition

Agreement or the Confidentiality and Non-Solicitation Agreement between Kot and Melaleuca.

        As it pertains to Defendant Shaklee (including any Shaklee subsidiaries, affiliates, or

related entities):

        a.       Employing Kot or working with him in any capacity.




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       b.       Communicating directly or indirectly with Kot, including with his agents or

representatives.

       c.       Making any public or non-public statements concerning Kot or Kot’s affiliation

with Melaleuca, including using Kot’s name, likeness, or affiliation to promote or endorse

Shaklee or its products.

       d.       Using or disclosing Melaleuca’s confidential or proprietary information.

       Melaleuca preserves its right to supplement this motion for preliminary injunction.

       DATED February 1, 2018.

                                             THOMSEN HOLMAN WHEILER, PLLC


                                             By: /s/
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                                                 Attorneys for Plaintiff


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                                    CERTIFICATE OF SERVICE

       I hereby certify that on February 1, 2018, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system, which sent a Notice of Electronic Filing to the
following persons:


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                                                     _____/s/ Richard R. Friess
                                                               Richard R. Friess




RRF/4550.082/PLEADINGS/016 MOT PRELIM INJ




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